                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 21-4027
                                    ___________________

                                   United States of America

                                                Plaintiff - Appellee

                                                  v.

                                     Carlos Artemio Padilla

                                   Defendant - Appellant
______________________________________________________________________________

         Appeal from U.S. District Court for the Southern District of Iowa - Central
                                  (4:20-cr-00168-RGE-1)
______________________________________________________________________________

                                         JUDGMENT

       Appellant's motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                       May 03, 2022




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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